                                                 UNITED STATES BANKRUPTCY COURT
                                                        DISTRICT OF OREGON
In re                                            )
David and Hilary McGaughey                       ) Case No.          09-36720
                                                 )    (NOTE: If blank, Case No. will be
                                                 )     on the Meeting of Creditors Notice)
                                                 )              1st Modified
                                                 ) CHAPTER 13 PLAN DATED            10/16/09
Debtor(s)                                        )    MOTION TO VALUE COLLATERAL
                                                      MOTION TO AVOID LIENS
                                                      SECURED CLAIM AMOUNT LIMITED WITH CREDITOR CONSENT
                                                   [MARK above IF applicable]

                                                                     1,220.00
1. The debtor shall pay to the trustee (a) a periodic payment of $________________________________________________________
                                                              month
   every____________________________________________________________________________________(insert                             either month or
   quarter); (b) all proceeds from avoided transfers, including proceeds from transfers avoided by the trustee; (c) upon receipt by the debtor,
   all net tax refunds attributable to prepetition tax years and net tax refunds attributable to postpetition tax years (i.e., tax refunds not
   included on Schedule I, less tax paid by debtor for a deficiency shown on any tax return for that same tax year or tax paid by setoff by
   a tax agency for a postpetition tax year) received during:      The life of the plan, or  36 or    60 months from the date the first plan
   payment is due (Check the applicable provision; if neither is checked, “for the life of the plan” applies); (d) a lump sum payment of
   $___________________on or before ___________(date); and (e)____________________________________________________
   ________________________________________________________________________________________________________.
   Debtor acknowledges that if the debtor is ever more than 30 days delinquent on any payment due under section 1(a) of this plan, upon
   motion of the trustee granted by the court after appropriate notice, a wage deduction order to debtor's employer may be issued
   immediately.
2. The trustee shall apply all funds received pursuant to pt. 1 as follows:
   (a) First, to the trustee's commission and expenses.
   (b) Second, with respect to secured creditors, the terms of the debtor’s prepetition agreement with each secured creditor shall continue
       to apply, except as otherwise provided in this plan or in the confirmation order. Secured creditors shall retain their liens until the
       payment of the underlying debt, determined under nonbankruptcy law, or discharge under §1328, as appropriate. Any allowed
       secured claims will be paid as shown below. Should the trustee not have sufficient funds in trust to pay fully the disbursements
       listed below, disbursements of funds available shall be made pro rata.
         (1) If a creditor is not fully secured, the unsecured portion of the creditor’s claim shall be treated under the provisions of pt. 2(e)
             and (f) if the claim identifies the priority position of the claim, and, if not, under the provisions of pt. 2(f) only. HOWEVER, THE
             CLAIMS OF CREDITORS SECURED BY PURCHASE MONEY SECURITY INTERESTS IN (i) A MOTOR VEHICLE
             ACQUIRED FOR PERSONAL USE BY THE DEBTOR(S) WITHIN 910 DAYS PRECEDING THE FILING DATE OF THE
             PETITION, OR (ii) ANY OTHER PERSONAL PROPERTY COLLATERAL ACQUIRED WITHIN ONE (1) YEAR PRECEDING
             THE FILING DATE OF THE PETITION SHALL BE TREATED AS FULLY SECURED except as provided in pt. (b)(2) below,
             if applicable. The following also apply:
          From the payments received pursuant to pt. 1, if a claim has been timely filed and allowed as secured, make payments to the
          following holders of such claims as detailed below. ESTIMATED PREPETITION ARREARAGES, IF CURING AND
          REINSTATING, MUST BE SHOWN BELOW. THE ARREARAGES SHOWN IN A TIMELY FILED AND ALLOWED SECURED
          CLAIM SHALL CONTROL.
                                                                                           Estimated
                                                         Estimated        Collateral       Total Debt         Post-       Equal
                                                         Arrearage       Value if Not       if Paying     confirmation   Monthly
Creditor                   Collateral                     if Curing     Paying in Full     Debt in Full   Interest Rate Payments
AlaskaUSA Fed. CU          2009 Pontiac G8                                                    $32,937          5.9%        $645




             If the collateral is not to be sold, and the provisions in capital letters above governing claims of creditors with
             purchase money security interests in personal property do not apply, the value of the collateral, where the debtor is
             not paying the debt in full, shall be fixed in the amount stated above for purposes of administration of this plan as

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               well as for purposes of determining the amount of any secured claim, if undersecured, unless objected to at or before
               the first date set for the confirmation hearing on this plan or, if applicable, prior to expiration of time to object to any
               proposed modified plan, in which case the value will be determined by the court. If the collateral is to be sold, the
               value shall be the sales price. The debtor MOVES the court for an order so fixing the value of the collateral.
               Otherwise, the creditor’s proof of claim shall control.
           (2) DEBTOR PROPOSES THAT THE CREDITOR(S) SPECIFICALLY IDENTIFIED BELOW AGREE TO THE FOLLOWING
               TREATMENT WHICH THE COURT MIGHT NOT BE ABLE TO APPROVE ABSENT CONSENT OF CREDITOR(S).
               FAILURE OF CREDITOR TO FILE A WRITTEN OBJECTION TO THIS PLAN PRIOR TO CONFIRMATION SHALL
               CONSTITUTE ACCEPTANCE OF THE PLAN.
               From the payments received pursuant to pt. 1, if a claim has been timely filed and allowed as secured, make payments to the
               following holders of such claims as detailed below. ESTIMATED PREPETITION ARREARAGES, IF CURING AND
               REINSTATING, MUST BE SHOWN BELOW.
                                                                                      Estimated
                                                       Estimated        Collateral    Total Debt       Post-
                                                       Arrearage Value if Not          if Paying confirmation Payment
Creditor                     Collateral                 if Curing Paying in Full Debt in Full Interest Rate Provisions




               If the collateral is not to be sold, for purposes of administration of this plan and case, the secured claim shall be
               limited to the value of the collateral stated above unless creditor objects at or before the first date set for the
               confirmation hearing on this plan or, if applicable, prior to expiration of time to object to any proposed modified plan,
               in which case the value will be determined by the court. The debtor MOVES the court for an order so fixing the value
               of the collateral. If the collateral is to be sold, the value shall be the sales price.
           (3) Adequate protection payments shall be disbursed by the trustee pre-confirmation from funds on hand with the trustee in the
               payment amounts specified in the plan for personal property secured creditors, absent a provision in this plan or a court order
               providing for a different amount to be paid pre-confirmation. If the debtor fails to make a monthly payment sufficient to pay the
               adequate protection payments in full, the trustee will disburse the funds pro rata according to the monthly payments proposed
               for those creditors. Adequate protection payments paid through the trustee pre-confirmation will be deducted from the amount
               of the allowed claim. Unless the concerned creditor is fully secured or oversecured for purposes of §506 or §1325(a)(9), no
               interest shall be paid from the date of the filing of the petition to the date of confirmation unless otherwise specifically provided
               for in the payment provisions set forth above.
           (4) Attorney Fees: Original attorney fees are $________________;
                                                          1,500.00                of which $________________remains
                                                                                            0.00                    unpaid. Said fees
               are to be paid either:     From all available funds after pt. 2(b) payments are made; or   Other -



         (5) The debtor shall surrender any collateral not otherwise addressed by the terms of this plan no later than upon confirmation of
             this plan to the following (i.e., state creditor NAME followed by DESCRIPTION of collateral to be surrendered):
     Bank of America - Home and Real Property, 19553 Silverfox Parkway, Oregon City, OR 97045
     Beneficial - Home and Real Property, 19553 Silverfox Parkway, Oregon City, OR 97045
     Gree Tree Servicing, LLC - 1999 OAKG Mobile Home, VIN: NCFLX56AB1582802M1, and real property commonly known as
     Lot #57, Whispering Pines, Leicester, NC 28747.
    (c) Third, pro rata until fully paid, allowed unsecured domestic support obligations.
    (d) Fourth, allowed administrative expenses under §507(a)(2).
    (e) Fifth, pro rata, until fully paid, to allowed priority claims in the order stated in §507(a)(3)-(10), including §1305 claims, unless
         otherwise ordered.
    (f) Sixth, pro rata, to timely filed and allowed nonpriority unsecured claims, the amounts required by §1325(b)(1). These monies will
         be distributed in the method indicated in the section marked below [MARK ONLY ONE]. The terms of pt. 8 shall also apply.
             (1) The creditors will receive approximately ________%45      of their claims. Payment of any dividend will depend upon secured
                   claims at the time of confirmation, the total amount of allowed claims, and the costs of administration, including all allowed
                   attorneys' fees of the debtor.
             (2) The creditors will receive a minimum ________% of their claims. This percentage will not be reduced despite the amount
                   of total creditors' claims filed.

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      (g) [Not Applicable if NA inserted in the blank] Pursuant to §1325(a)(4), the "best interest of creditors" number is determined to be
           3,527.00
          $________________,     and not less than that amount shall be distributed to unsecured creditors.
      (h) [Not Applicable if NA is inserted in the blank] Pursuant to §1325(a)(4), all allowed unsecured claims shall receive interest of
          ________% from the time of confirmation.

 3.   The debtor ASSUMES the following executory contracts and leases:
    Creditor                                  Amount of Default [State if None]     Cure Provisions
 Chrysler Financial                              None                           n/a




      Those executory contracts or leases not specifically mentioned above are treated as rejected. Any timely filed and allowed claim
      arising from rejection shall be treated under pt. 2(f). The debtor will pay all assumed executory contracts and leases directly, including
      amounts required to cure. The debtor shall surrender any property covered by rejected executory contracts or leases to the affected
      creditor no later than upon confirmation of this plan.

 4.   The debtor shall pay directly to each of the following creditors, whose debts are either fully secured or are secured only by a security
      interest in real property that is the debtor's principal residence, the regular payment due postpetition on these claims in accordance
      with the terms of their respective contracts, list any prepetition arrearages in pt. 2(b), and/or specify any other treatment of such
      secured creditor(s) in an additional pt. at the end of this plan:




 5.   Subject to the provisions of §502, untimely claims are disallowed, without the need for formal objection, unless allowed by court order.

 6.   (a) The debtor MOVES, pursuant to §522(f)(1)(A), to avoid the judicial liens of the following creditors because they impair an
          exemption(s) of the debtor:




      (b) The debtor MOVES, pursuant to §522(f)(1)(B), to avoid the non-purchase money security interests of the following creditors
          because they impair an exemption(s) of the debtor:




      Absent objection from a creditor, filed prior to the first date set for the confirmation hearing on this plan, the order of confirmation will
      avoid its lien and its claim will be treated in pt. 2(f).

 7.   Except as otherwise provided herein, postpetition interest on all unsecured claims is disallowed. Interest continues to accrue on debts
      that are excepted from discharge.

 8.   [To be completed if plan will not be completed until more than 36 months after the first plan payment due under the originally filed
      plan.] The approximate length of the plan is _____
                                                    60 months; cause to extend longer than 36 months is as follows:
      Applicable commitment period




      Except as otherwise explicitly provided by pt. ______, Debtor(s) shall make plan payments for 36 months, unless the debtor(s) pays
      100% of all allowed claims with appropriate interest,except the plan payments shall continue for more than 36 months to the extent
      (1) the plan proposes a longer period, not to exceed 60 months, as necessary to complete required payments to creditors, or (2)
      §1322(d)/1325(b) requires plan payments for a longer period.

 9.   This plan may be altered postconfirmation in a non-material manner by court order after notice to the debtor, the trustee, any creditor
      whose claim is the subject of the modification and any interested party who has requested special notice.

10.   Debtor(s) certifies that all postpetition domestic support obligations have been paid in full on the date of this plan and will be paid in
      full at the time of the confirmation hearing.


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11.   Debtor(s) further certifies that the petition was filed in good faith, and this plan was proposed in good faith and not by any means
      forbidden by law.
12. Debtor(s) shall pay not less than $58,522 to the general non priority unsecured creditors, including original unpaid
attorney fees, before any discharge under §1328(a) is granted in this case.




             /s/ David McGaughey
____________________________________________                                                 /s/ Hilary McGaughey
                                                                                ____________________________________________
                   DEBTOR                                                                           DEBTOR

IN ORDER TO ASSURE PROPER SERVICE ON ALL CREDITORS LISTED IN pts. 2(b)(1), 2(b)(2) OR 6 OF THE PLAN pursuant to
FRBPs 3012, 4003(d), 9014 and 7004: (a) I LISTED ON THE MAILING MATRIX such creditors, other than insured depository
institutions, in care of a person or entity authorized to be served; AND (b) I SERVED VIA CERTIFIED MAIL, ON ______________,
                                                                                                                    10/16/09
COPIES OF THIS PLAN ON any insured depository institution(s) affected by pts. 2(b)(1), 2(b)(2), or 6 of the Plan [FRBP 7004(h)];
AND (c) THE FOLLOWING LIST SEPARATELY IDENTIFIES all such creditors served via matrix listing and such creditors served
via certified mail INCLUDING the names AND addresses of ALL such creditors served (NOTE: With respect to creditors served
via matrix listing, the list of names and addresses IS IDENTICAL to that included in the matrix):
SERVED VIA MATRIX:
Alaska USA Federal Credit Union
PO Box 196613
Anchorage, AK 99519-9983




                                                                                                       /s/ Nicholas J. Henderson
                                                                                                  _______________________________
                                                                                                  DEBTOR OR DEBTOR’S ATTORNEY
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